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            IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE DISTRICT OF SOUTH CAROLINA
                        GREENWOOD DIVISION

UNITED STATES OF AMERICA           )   CRIMINAL NO: 8:17-cr-223
                                   )
              v.                   )             AMENDED INFORMATION
                                   )
                                   )
DEMETRIS ANTWON GOODE              )


     The United States of America files this Information pursuant

to Title 21, United States Code, Section 851, thereby notifying

the defendant that DEMETRIS ANTWON GOODE is subject to increased

penalties provided by Title 21, United States Code, Sections 841

and 846, based on the following convictions:

     a.   April 17, 2009 – convicted of Possession with
          Intent to Distribute Crack Cocaine Near a School in
          General Sessions Court in Greenwood County, South
          Carolina, Indictment Number 2008-GS-24-1736. The
          Defendant received a sentence of 10 years.

     The government reserves the right to amend this Information.

                                       SHERRI A. LYDON
                                       UNITED STATES ATTORNEY


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April 22, 2019
